           Case 3:16-cv-04324-LB Document 98 Filed 09/21/18 Page 1 of 5



     MICHAEL J. HADDAD (State Bar No. 189114)
 1   JULIA SHERWIN (State Bar No. 189268)
 2   MAYA SORENSEN (State Bar No. 250722)
     TERESA ALLEN (State Bar No. 264865)
 3   HADDAD & SHERWIN LLP
     505 Seventeenth Street
 4   Oakland, California 94612
     Telephone: (510) 452-5500
 5
     Facsimile: (510) 452-5510
 6
     Attorneys for Plaintiff
 7   T.D.P.

 8   DAN SIEGEL (State Bar No. 56400)
     EMILYROSE JOHNS (State Bar No. 294319)
 9
     SIEGEL & YEE & BRUNNER
10   475 Fourteenth Street, Suite 500
     Oakland, California 94612
11   Telephone: (510) 839-1200
     Facsimile: (510) 444-6698
12
     Attorneys for Plaintiffs
13
     RICHARD PERKINS, III
14   and ADA PERKINS-HENDERSON

15                                UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA
17
     T.D.P., a minor through her mother and       )
18   Next Friend, Andrea Dupree, individually     )      No: 3:16-cv-04132-LB
     and as successor in interest for RICHARD     )
19                                                )
     HESTER PERKINS JR., Deceased,                )      PLAINTIFFS UPDATED JOINT CASE
20                                                )      MANAGEMENT STATEMENT
                    Plaintiff,                    )
21   vs.                                          )   Date: September 27, 2018
                                                  )   Time: 9:30 a.m.
22   CITY OF OAKLAND, a public entity,            )   Place: Courtroom C - 15th Floor, 450 Golden
     CITY OF OAKLAND POLICE CHIEF                 )   Gate Ave., San Francisco, CA 94102
23                                                )
     SEAN WHENT in his individual and             )
     official capacities, SERGEANT JOSEPH             Judge: Laurel Beeler
24                                                )
     TURNER, OFFICERS JONATHAN                    )
25   CAIRO, JOSHUA BARNARD,                       )   Case Filed: August 1, 2016
     ALLAHNO HUGHES, and DOES 1-10,               )   Trial Date: May 6, 2019
26   Jointly and Severally,                       )
                                                  )
27                  Defendants.                   )
                                                  )
28
     No. 3:16-cv-04132 and 3:16-cv-04324-LB: UPDATED JOINT CASE MANAGEMENT STATEMENT
           Case 3:16-cv-04324-LB Document 98 Filed 09/21/18 Page 2 of 5




 1
     RICHARD PERKINS, III, son of                  )
 2                                                 )     No: 3:16-cv-04324-LB
     RICHARD PERKINS, JR., deceased, and
     ADA PERKINS-HENDERSON,                        )
 3                                                 )
                                                   )    PLAINTIFFS UPDATED JOINT CASE
 4                  Plaintiff,                     )    MANAGEMENT STATEMENT
     vs.                                           )
 5                                                 )
     CITY OF OAKLAND; JOSEPH                       )
 6                                                 )
     TURNER, individually and in his official
     capacity as a sergeant for the police         )
 7                                                 )
     department of the City of Oakland;            )
 8   JONATHAN CAIRO, individually and in           )
     his official capacity as an officer for the   )
 9                                                 )
     police department of the City of Oakland;
     JOSHUA BARNARD, individually and in           )
10                                                 )
     his official capacity an officer for the
                                                   )
11   police department of the City of Oakland;     )
     and ALLAHNO HUGHES, individually              )
12   and in his official capacity as an officer    )
     for the police department of the City of      )
13                                                 )
     Oakland,
                                                   )
14                                                 )
                    Defendants.
15

16

17

18

19

20

21

22

23

24

25

26

27

28
     No. 3:16-cv-04132 and 3:16-cv-04324-LB: UPDATED JOINT CASE MANAGEMENT STATEMENT
         Case 3:16-cv-04324-LB Document 98 Filed 09/21/18 Page 3 of 5




 1           1.     Outstanding Issues:

 2           Plaintiffs file this separate case management conference statement due to a disagreement

 3   between the parties about whether or not next week’s case management conference should be

 4   continued. The parties conferred throughout the day yesterday in an attempt to reach a reasonable

 5   compromise about Defendants’ third request to continue various hearing and case management

 6   dates. Defendants would not agree to Plaintiffs’ request that the case management conference only

 7   remain on calendar, and the parties remained at an impasse into the late evening hours with lead

 8   counsel for Plaintiff T.D.P. in the Eastern Time Zone. (See Doc. 132 re Plaintiff T.D.P.’s notice of

 9   unavailability). Plaintiffs’ counsel requested that Defendants allow Plaintiffs to add our comments

10   to a joint statement to be filed today, however, we have not received a response.

11           Plaintiffs understand that Defendants seek leave from the Court to continue both the case

12   management conference hearing as well as the hearing on Defendants’ motion for summary

13   judgment due to lead counsel Blake Loeb’s indefinite leave, beginning on September 10, 2018.

14   Plaintiffs respectfully request that the Court maintain the date of the current case management

15   conference, scheduled for September 27, 2018. Plaintiffs are amenable to continuing the motion for

16   summary judgment, and have communicated this to Defendants. However, the parties have not had

17   a case management conference since November 9, 2017, and Plaintiffs believe a case management

18   conference is necessary to discuss outstanding issues with the Court as soon as possible. This is

19   especially pressing to counsel for all Plaintiffs considering that the next date on which the Court

20   holds case management conferences where all Plaintiffs’ counsel will be available is November 28,

21   2018.

22           Plaintiffs have already accommodated several of Defendants’ requests to continue both the

23   hearing on the motion for summary judgment as well as the expert discovery cutoff date. On May

24   31, 2018, Plaintiffs agreed to stipulate to continuing both the motion for summary judgment and

25   expert discovery cutoff due to City of Oakland lead trial counsel Blake Loeb’s medical leave. (Doc.

26   130.) Then, on September 10, 2018, Plaintiffs again agreed to continue the expert discovery cutoff.

27   (Doc. 133.) City of Oakland Defendants are again asking that Plaintiffs continue both the motion

28   No. 3:16-cv-04132 and 3:16-cv-04324-LB: UPDATED JOINT CASE MANAGEMENT STATEMENT                       1
         Case 3:16-cv-04324-LB Document 98 Filed 09/21/18 Page 4 of 5




 1   for summary judgment and expert discovery cutoff as well as all currently scheduled expert

 2   depositions. Plaintiffs will agree to continuing the currently scheduled expert depositions, the

 3   motion for summary judgment, and the expert discovery cutoff date. However, Plaintiffs believe it

 4   is eminently reasonable to ask that Defendants participate in the currently scheduled case

 5   management conference where no party will be asked to argue a motion or a point of contention,

 6   but instead discuss pretrial matters and the possible change in counsel by City of Oakland

 7   Defendants. Given the length of time since the last CMC hearing, as well as serious developments

 8   in party representation, it is necessary to keep this scheduled case management conference.

 9   Additionally, the pretrial conference is set on April 28, 2019 with trial to start on May 6, 2019. The

10   next time all Plaintiffs’ counsel are available is November 28, 2018, which would be a full year

11   since the previous case management hearing and only four months from the pretrial conference.

12          Plaintiffs remain willing to continue the motion for summary judgment given Defendants’

13   predicament, but we ask that the Court keep the case management conference date so we can have a

14   discussion about scheduling and pretrial issues, and possible further ADR. Further, because

15   Defendants have previously failed to negotiate in good faith, Plaintiffs further request that the

16   person(s) in the Oakland City Attorney’s office with responsibility, and decision-making authority

17   attend next week’s case management conference so that an attorney for Defendants will be present

18   at the CMC with authority to bind Defendants as to future pretrial dates, expert discovery issues,

19   and other matters including further ADR.

20          By the date of the case management conference, Defendants will have had over two weeks,

21   and very likely a lot longer given that they have known about Mr. Loebs’ serious illness for a

22   number of months, to come to a decision about the steps they would like to take considering Mr.

23   Loebs’ now indefinite absence. These constant continuances have inflicted a lot of costs on

24   Plaintiffs because counsel have had to prepare for scheduled expert depositions only to have them

25   rescheduled. The only request Plaintiffs make at this time is to allow the currently scheduled case

26   management conference to go forward.

27

28   No. 3:16-cv-04132 and 3:16-cv-04324-LB: UPDATED JOINT CASE MANAGEMENT STATEMENT                      2
         Case 3:16-cv-04324-LB Document 98 Filed 09/21/18 Page 5 of 5




 1          2.      Joint Statement on Case Progress and Developments

 2          Plaintiffs are set to depose two of Defendants’ experts, Craig Fries on October 11, 2018 and

 3   Kris Mohandie on October 12, 2018. Defendants are set to depose Plaintiffs’ police practices expert

 4   John Ryan on October 12, 2018. However, Plaintiffs understand that Defendants desire to

 5   reschedule these depositions. Plaintiffs will again accommodate Defendants’ request.

 6          On February 20, 2018, Defendants filed a joint summary judgement motion and Plaintiffs

 7   responded on April 3, 2018. The hearing on the motion for summary judgment is scheduled to

 8   occur on September 27, 2018, the same day as the case management conference, however, it is

 9   Plaintiffs understanding that Defendants will seek to continue the motion for summary judgment as

10   well as the case management conference.

11          3.      ADR

12           At this time, there are no further settlement conferences or mediations scheduled, however,

13   Plaintiffs are willing to participate in ADR when Defendants are willing to negotiate in good faith.

14

15

16   DATED: September 21, 2018                    HADDAD & SHERWIN, LLP.

17                                                /s/ Maya Sorensen
                                                  Maya Sorensen
18                                                Attorneys for Plaintiff
                                                  T.D.P.
19

20   DATED: September 21, 2018                    Siegel & Yee

21                                                __/s/ EmilyRose Johns______
                                                  EmilyRose Johns
22                                                Attorneys for Plaintiffs
                                                  Perkins and Henderson
23

24

25

26

27

28   No. 3:16-cv-04132 and 3:16-cv-04324-LB: UPDATED JOINT CASE MANAGEMENT STATEMENT                    3
